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                                                                  Feb. 3, 2025
Via ECF

Clifton Cislak
Clerk of the Court
United States Court of Appeals
  for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Ave., N.W.
Washington, DC 20001

Re:   City of Port Isabel, et al. v. FERC, Nos. 23-1174(L)
      Oral Argument Held May 17, 2024
      Response to FERC’s Supplemental Authority

Dear Mr. Langer:

    Pursuant to F.R.A.P. 28(j), Petitioners respond to intervenor Rio
Grande LNG’s January 23, 2025 letter on supplemental authorities.

      First, no party has petitioned for rehearing of the panel’s holding
that FERC must prepare a supplemental environmental impact
statement (“SEIS”) to address an alternative design implementing
carbon capture and sequestration. Similarly, intervenors have not
seriously disputed the holding that FERC’s rejection of nearby air
monitoring data was arbitrary. Resp. to Reh’g Pet. at 12 (Dec. 9, 2024).
This case will be remanded to FERC, and an SEIS required, even if
rehearing is granted. Moreover, these holdings themselves support
vacatur.

      Second, withdrawal of executive orders on environmental justice is
irrelevant to the panel’s merits holding. As to remedy, on remand, if
FERC argues that it need not or cannot consider environmental justice,
Petitioners Port Isabel et al. anticipate arguing that NEPA’s “hard look”
obligation requires some consideration of environmental justice. This
issue has not been briefed to FERC or this Court. For purposes of the
first Allied-Signal prong, the Court cannot assume that arguments the
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public has not yet had an opportunity to raise will not be persuasive, as
the panel recognized with other air and environmental justice issues.
Op. 19.

      Third, Rio Grande argues in passing that the January 20, 2025
Executive Order prohibited consideration of “nonstatutory
requirements, such as environmental justice review,” and that this
weighs against vacatur. Consideration of environmental impacts is a
statutory requirement of the Natural Gas Act, as affirmed by the
Supreme Court and this Court. NAACP v. Fed. Power Comm’n, 425 U.S.
662, 670 n.6 (1976); Myersville Citizens for a Rural Cmty., Inc. v. FERC,
783 F.3d 1301, 1307 (D.C. Cir. 2015). In many cases—including here—
environmental impacts cannot be understood without consideration of
the population that will be exposed to them. It may be that, on remand,
FERC can meet its NEPA and Natural Gas Act obligations without
following every recommendation of the environmental justice guidance
documents that FERC explicitly adopted here. But that does not mean
that FERC will be able to refuse to consider environmental justice at
all.

                                  Respectfully submitted,

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                                          /s/ Gilberto Hinojosa
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                CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure, I certify that

the foregoing letter complies with:

        1. the word limitations of Federal Rule of Appellate

           Procedure 28(j) and this Circuit’s local rules, setting a limit

           of 350 words for Supplemental Authority Letters, because

           this letter contains 347 words; and

        2. the typeface requirements of Rule 32(a)(5) and the type

           style requirements of Rule 32(a)(6) because it has been

           prepared in a proportionally spaced typeface (14-point)

           using Microsoft Word (the same program used to calculate

           the word count).

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                      CERTIFICATE OF SERVICE

      I hereby certify that, on February 3, 2025, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties via

the Court’s electronic filing system.



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